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                     UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                    Criminal No.14-261(16) (JRT/JBRT)

             Plaintiff,

      v.                                              ORDER

TIARA LIGON,

             Defendant.


      Karen Schommer Assistant United States Attorney, OFFICE OF THE
      UNITED STATES ATTORNEY, 300 South Fourth Street, Suite 600,
      Minneapolis, MN 55415, for plaintiff,

      Manvir K. Atwal, Assistant Federal Defender, OFFICE OF THE
      FEDERAL DEFENDER, 300 South Fourth Street, Suite 107,
      Minneapolis, MN 55415, for defendant.

      Defendant filed a Motion for Extension of Time to Surrender (Docket No. 1209).

Defendant is currently required to voluntarily surrender on January 22, 2018.

      Based upon defendant’s motion, and upon all the files, records, and proceedings

herein, IT IS HEREBY ORDERED that Defendant’s Motion for Extension of Time to

Surrender [Docket No. 1166] is GRANTED. Defendant’s voluntary surrender date is

now set for 11:00 a.m. on February 12, 2018 at a facility as designated by the Bureau of

Prisons.

Dated: January 19, 2018
at Minneapolis, Minnesota                       s/John R. Tunheim
                                                JOHN R. TUNHEIM
                                                Chief Judge
                                                United States District Court
